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U.S. DISTRICT COURT
EASTERN DISTRICT ARKANSAS

   

IN THE UNITED STATES DISTRICT COURT

 

EASTERN DISTRICT OF ARKANSAS FEB 2 1 2020
IN OPEN COURT
JAMES W. MESORMACK, CLERK

UNITED STATES OF AMERICA ) By DEPUTY CLERK

)
Vv. ) No. 4:18-cr-00466-BSM
)
RYAN RIELLY )
PLEA AGREEMENT

The United States Attorney for the Eastern District of Arkansas, Cody Hiland, by and
through Chris Givens, Assistant United States Attorney, and RYAN RIELLY, defendant,
represented by the undersigned counsel, hereby agree to the following terms and conditions in
connection with the above referenced proceedings.

1. GUILTY PLEA: The defendant will enter a plea of guilty to conspiracy to
distribute or possess with intent to distribute more than 500 grams of methamphetamine, a
violation of Title 21, United States Code, Section 846, as set forth in Count 1 of the Indictment.
This plea agreement is pursuant to Federal Rule of Criminal Procedure 11(c)(1)(A) and
11(¢)\()@B).

2. ELEMENTS OF THE CRIME: The parties agree the elements of the offense to
which the defendant will plead guilty are:

A. Two or more persons reached an agreement or came to an understanding to
commit an offense;

B. The defendant voluntarily and intentionally joined in the agreement or understanding
either at the time it was first reached or at some later time while it was still in effect; and

C. At the time the defendant joined in the agreement or understanding, he knew the
purpose of the agreement or understanding.

D. The amount of methamphetamine was more than 500 grams.
The defendant agrees that he is guilty of the offense charged and that each of these elements

is true.
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3. PENALTIES:

 

A. STATUTORY PENALTIES: The maximum penalty for the charge set
forth in Count 1 is not less than ten (10) years and not more than life imprisonment and/or a fine
not to exceed ten million dollars ($10,000,000), not less than five (5) years supervised release, and

a $100 special assessment.

B. SUPERVISED RELEASE: Supervised release is a period of time following

 

imprisonment during which defendant will be subject to various restrictions and requirements.
Defendant understands that if defendant violates one or more of the conditions of any supervised
release imposed, the defendant may be returned to prison for all or part of the term of supervised
release, which could result in defendant serving a total term of imprisonment greater than the
statutory maximum stated above.

4. WAIVERS: The defendant acknowledges that he has been advised of and fully
understands the nature of the charges to which the plea is offered, the mandatory minimum penalty
provided by law, if any, and the maximum possible penalty provided by law. The defendant further
understands that by entering into this Agreement and Addendum, he is waiving certain
constitutional rights, including, without limitation, the following:

A. The right to appeal or collaterally attack, to the full extent of the law, all non-
jurisdictional issues, including any forfeiture or restitution order, as follows:

(1) the defendant waives the right to appeal all non-jurisdictional issues
including, but not limited to, any issues relating to pre-trial motions, hearings and discovery and
any issues relating to the negotiation, taking or acceptance of the guilty plea or the factual basis

for the plea, including the sentence imposed or any issues that relate to the establishment of the

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Guideline range, except that the defendant reserves the right to appeal claims of prosecutorial
misconduct and the defendant reserves the right to appeal the sentence if the defendant makes a
contemporaneous objection because the sentence imposed is above the Guideline range that is
established at sentencing; |

(2) the defendant expressly acknowledges and agrees that the United
States reserves its right to appeal the defendant’s sentence under Title 18, United States Code,
Section 3742(b) and United States v. Booker, 543 U.S. 220 (2005);

(3) the defendant waives all rights to collaterally attack the conviction
and sentence in any post-conviction proceeding, including one pursuant to Title 28, United States
Code, Section 2255, except for claims based on ineffective assistance of counsel or prosecutorial
misconduct;

(4) the defendant waives the right to have the sentence modified
pursuant to Title 18, United States Code, Section 3582(c)(2);

(5) the defendant waives the right to appeal the Court’s determination
of the amount of restitution and subsequent restitution order, if any; and,

(6) the defendant waives the right to appeal the Court’s determination
of any forfeiture issues and subsequent forfeiture order, if any.

B. The right to plead not guilty or to persist in that plea if it has already been
made, and the right to a speedy and public trial before a jury;

C. The right to be presumed innocent and to have the burden of proof placed
on the United States to establish guilt beyond a reasonable doubt;

D. The right to confront and cross examine witnesses;
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E. The right to testify in his own behalf if the defendant so chooses, or, the
right to remain silent and not be compelled to testify, and to have that choice not used against the
defendant;

F, The right to call witnesses and to require those witnesses to appear by
issuing subpoenas.

G. Pursuant to Federal Rule of Criminal Procedure 11(b)(1)(O), the defendant
understands that upon conviction, a defendant who is not a United States citizen may be removed
from the United States, denied citizenship, and denied admission to the United States in the future.

5. STIPULATIONS: The United States and the defendant stipulate to the following
Sentencing Guidelines issues for presentation of this case to the Court at sentencing:

A. BASE OFFENSE LEVEL AGREEMENT:

Under the United States Sentencing Guidelines, the base offense level for the offense of
conviction is determined by the quantity of controlled substance involved in the offense. The
parties agree that the quantity of methamphetamine involved is at least 1.5 kilograms, but less than
5 kilograms, rendering a base offense level of 32 under U.S.S.G. § 2D1.1.

B. If the defendant meets all of the requirements for the safety valve under 18
U.S.C. § 3553(f), he may receive a two-level reduction in the base offense level pursuant to
U.S.S.G. § 2D1.1(b)(18). If he does not qualify for a two-level reduction under U.S.S.G. §
2D1.1(b)(18), but otherwise qualifies under 18 U.S.C. § 3553(f), the United States agrees to file a
Safety Valve Motion for Two-Level Variance at the appropriate time.

C, The defendant is eligible for a two-level reduction for acceptance of

responsibility unless the defendant takes any action between the entry of the guilty plea and

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imposition of the sentence that is inconsistent with acceptance of responsibility. If the offense level
is 16 or greater, the determination of whether the defendant is eligible for a third level reduction
for acceptance of responsibility will be made by the United States at the time of sentencing.

D. The parties stipulate that no other enhancements or reductions under Section
2D1.1, Chapter 3, or Chapter 5 of the Guidelines apply, other than those specifically set out in this
Agreement and its Addendum.

E. The defendant specifically waives any and all challenges to the searches,
seizures, arrests, statements, and forfeitures that have taken place as of the date of the execution
of this plea agreement by the defendant in this investigation by any entity, and in any forum where
the offense may be pursued and/or forfeiture may be sought. Defendant will assist in executing
any requested waiver of challenge and relinquishment of rights to any and all assets that have been
seized to date in this investigation by any participating agency or department, in any forum where
the forfeiture may be sought.

6. SENTENCING GUIDELINES: It is specifically understood by the defendant
that the Sentencing Guidelines are not mandatory but are advisory, and that the Court is to consult
them in determining the appropriate sentence. The defendant understands that the determination
of the applicability of the Guidelines and of the appropriate sentence will be made by the Court.
The defendant is aware that any estimate of the probable sentencing range under the Sentencing
Guidelines that the defendant may have received from the defendant's counsel, the United States,
or the Probation Office, is merely a prediction, not a promise, and is not binding on the United
States, the Probation Office, or the Court. The United States makes no promise or representation

concerning what sentence the defendant will receive and the defendant cannot withdraw a guilty
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plea, or otherwise avoid the defendant's obligations under this Agreement and Addendum, based
upon the actual sentence imposed by the Court. The parties understand and agree that if the
guideline range is greater or less than the defendant or the United States expected it to be, and/or
the sentence imposed by the Court is greater or lesser than anticipated, neither the defendant nor
the United States will be allowed to withdraw, nor request withdrawal of, the guilty plea, nor be
excused from any obligation under this Agreement and Addendum.

7. ALLOCUTION: The United States reserves the right to bring any and all facts
which it believes are appropriate to the attention of the Court.

8. COOPERATION IN THE SENTENCING PROCESS:

A. The defendant agrees to truthfully provide all information to the Probation
Office as is needed for preparation of the pre-sentence report, including, but not limited to, criminal
history information. The defendant shall voluntarily provide a complete and truthful written
accounting of the defendant’s criminal history to the Probation Office.

B. The defendant agrees to execute all waivers necessary for the preparation
of the pre-sentence report.

C. The defendant understands and acknowledges that the defendant’s
obligation of disclosure regarding criminal history is not limited to arrests and convictions reported
in computer databases, but requires the defendant to disclose all arrests and/or convictions,
including any juvenile matters, regardless of whether the defendant believes the arrest/conviction
counts under the Sentencing Guidelines.

D. The defendant is required to comply with these obligations no later than the

expiration of the date on which objections to the pre-sentence report are due.
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9. FINANCIAL MATTERS:

A. FINANCIAL STATEMENT: The defendant agrees to fully and truthfully

 

complete a Financial Statement provided by the United States Probation Office.

B. FINES: The defendant understands that unless the Court determines that
the defendant is financially unable to pay a fine, the Court must impose a fine pursuant to the
Sentencing Reform Act of 1984.

Cc. SPECIAL PENALTY ASSESSMENT: The defendant agrees to pay to the

 

United States a special assessment of $100.00 per count, as required by Title 18, United States
Code, Section 3013. This special assessment is to be paid by bank cashier’s check or money order
as directed by the Court. Cashier’s checks or money orders should be made payable to “Clerk,
United States District Court.”

10. DOUBLE JEOPARDY AND SUCCESSIVE PROSECUTION: The United

 

States Attorney for the Eastern District of Arkansas will bring no further charges against the
defendant for any acts or conduct arising out of the events described in the Indictment, which is
the subject of this action, unless the defendant breaches this Agreement and Addendum.

11. RECORDS: The defendant hereby waives all rights, whether asserted directly or
by a representative, to request or receive from any department or agency of the United States any
records pertaining to the investigation or prosecution of this case, including without limitation any
records that may be sought under the Freedom of Information Act, 5 U.S.C. Section 552, or the
Privacy Act of 1974, 5 U.S.C. Section 552a.

12. CIVIL CLAIMS BY THE GOVERNMENT: Except to the extent otherwise

expressly specified herein, this Agreement and Addendum does not bar or compromise any civil
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or administrative claim pending or that may be made against the defendant, including but not
limited to tax matters.

13. EFFECT OF DEFENDANT’S BREACH OF PLEA AGREEMENT
AND ADDENDUM:

A. Defendant acknowledges and understands that if the defendant violates any
term of this Agreement and Addendum, engages in any further criminal activity prior to
sentencing, or fails to appear for any subsequent proceeding including sentencing, the United
States shall have, in addition to all other rights and remedies otherwise available, the right to:

(1) terminate this Agreement and Addendum; or
(2) proceed with this Agreement and Addendum and
(a) deny any and all benefits to which the defendant would
otherwise be entitled under the terms of this Agreement and Addendum; and/or
(b) advocate for any sentencing enhancement that may be
appropriate.

B. In the event the United States elects to terminate this Agreement and
Addendum, the United States shall be released from any and all obligations hereunder. The
defendant acknowledges and understands that the agreement of the United States to dismiss any
charge is conditioned upon final resolution of this matter. If this Agreement and Addendum is
terminated or if the defendant's conviction ultimately is overturned, then the United States retains
the right to reinstate any and all dismissed charges and to file any and all charges which were not

filed because of this Agreement and Addendum.
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C. The defendant hereby knowingly and voluntarily waives any defense based
upon the applicable statute of limitations and/or the Speedy Trial Act, for any charges reinstated
or otherwise filed against the defendant as a result of defendant's breach of this Agreement and
Addendum, so long as the United States initiates any otherwise time barred action within one year
of termination or revocation of this Agreement and Addendum.

D. In the event that the Agreement and Addendum is terminated or if the
defendant successfully moves to withdraw his plea, any statement made by the defendant in
negotiation of, or in reliance on this Agreement and Addendum, including any statements made in
the course of a proffer, this Agreement, the stipulations in paragraph 5 of this Agreement, and the
plea colloquy:

(1) may be used in the United States’ case in chief and to cross examine
the defendant should he testify in any subsequent proceeding; and/or

(2) any leads derived therefrom may be used by the United States.
The defendant waives any and all rights to the contrary and shall assert no claim under the United
States Constitution, any statute, or any rule of procedure or evidence to the contrary, including
Federal Rule of Evidence 410 and Federal Rule of Criminal Procedure 11(f). Defendant has been
advised of his rights pursuant to Federal Rule of Evidence 410 and Federal Rule of Criminal
Procedure 11(f) and waives these rights.

14. PARTIES: This Agreement and Addendum is binding only upon the United

States Attorney's Office for the Eastern District of Arkansas and the defendant. It does not bind
any United States Attorney outside the Eastern District of Arkansas, nor does it bind any other

federal, state or local prosecuting, administrative, or regulatory authority.
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15. MISCELLANEOUS:

A. MODIFICATION: No term or provision contained herein may be
modified, amended or waived except by express written agreement signed by the party to be bound
thereby.

B. HEADINGS AND CAPTIONS: Subject headings and captions are
included herein for convenience purposes only and shall not affect the interpretation of this
Agreement and Addendum.

C. WAIVER: No waiver of a breach of any term or provision of this
Agreement and Addendum shall operate or be construed as a waiver of any subsequent breach or
limit or restrict any other right or remedy otherwise available. Any waiver must be expressly stated
in writing signed by the party to be bound thereby.

D. RIGHTS AND REMEDIES CUMULATIVE: The rights and remedies of
the United States expressed herein upon any breach hereunder by the defendant are cumulative
and not exclusive of any rights and remedies otherwise available to the United States in the event
of any breach of this Agreement and Addendum by defendant.

E. JOINT NEGOTIATION: This Agreement and Addendum has been
mutually negotiated by the parties hereto, and any uncertainty or ambiguity existing herein shall
not be interpreted against any party by reason of its drafting of this Agreement and Addendum,
but instead shall be interpreted according to the application of the general rules of interpretation
for arms-length agreements.

16. NO OTHER TERMS: This document and the Addendum completely reflect all

promises, agreements and conditions made between the parties, constitute the entire agreement

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between the parties and supersedes any and all prior agreements or understandings between the
parties, oral or written, with respect to the subject matter hereof.
17. APPROVALS AND SIGNATURES:

A. DEFENDANT: The defendant has read this Agreement and Addendum
and carefully reviewed every part of it with his attorney. The defendant understands and
voluntarily agrees to the terms and condition of this Agreement and Addendum. Further, the
defendant has consulted with his attorney and fully understands his rights with respect to the
provisions of the United States Sentencing Guidelines which may apply to this case. No other
promises or inducements have been made to the defendant, other than those expressly contained
in this Agreement and Addendum. In addition, no one has threatened or forced the defendant in
any way to enter into this Agreement and Addendum. Defendant further acknowledges that
defendant has entered into this Agreement and Addendum, consciously and deliberately, by
defendant's free choice, and without duress, undue influence or otherwise being forced or
compelled to do so, and this Agreement and Addendum constitutes the legal, valid and binding
obligation of the defendant, fully enforceable against defendant in accordance with its terms.
Finally, the defendant is satisfied with the representation of his attorney in this case.

B. DEFENSE COUNSEL: Defense counsel acknowledges that he is the
attorney for the defendant, and that he has fully and carefully discussed every part of this-
Agreement and Addendum with the defendant. Further, defense counsel has fully and carefully
advised the defendant of the defendant’s rights, of possible defenses, and of the consequences of

entering into this Agreement and Addendum, including the possible consequences of not

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complying with this Agreement and Addendum. To counsel's knowledge, the defendant's decision

to enter into this Agreement and Addendum is an informed and voluntary decision.

DATED this 21st day of February, 2020.

CODY HILAND
United States Attorney

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By: CHRIS GIVENS

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RYAN RIELLY
Defendant

 

 

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